
	OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. LEONARD

	
				
            
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. LEONARD2014 OK 93Case Number: SCBD-6156Decided: 10/06/2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 93, __ P.3d __
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 
STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
MITCHELL KEVIN LEONARD, Respondent.
ORDER
On July 28, 2014, the complainant, Oklahoma Bar Association (OBA), filed a verified complaint against the respondent, Mitchell Kevin Leonard, pursuant to Rule 6 of the Rules Governing Disciplinary Proceedings (RGDP), 5 O.S.2011, ch. 1, app. 1-A, and an application for emergency immediate interim suspension pursuant to Rule 6.2A of the RGDP. On August 20, 2014, this Court ordered Respondent to show cause no later than September 2, 2014, why an order of immediate interim suspension should not be entered. Respondent has failed to respond. Further, in that same order, this Court directed the OBA to show cause why this matter should not proceed pursuant to Rule 10. 
Upon consideration of the OBA's Rule 6.2A application for an order of immediate interim suspension and the OBA's response to this Court's Order, the Court finds:
1. The verified complaint contains sufficient allegations that if proven demonstrate that the Respondent has committed conduct in violation of the Oklahoma Rules of Professional Conduct, subjecting Respondent to the RGDP; 
2. Respondent's conduct poses an immediate threat of substantial and irreparable public harm; and 
3. This Court is satisfied that this case should not proceed as a Rule 10. IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that this matter shall proceed pursuant to Rule 6.
IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mitchell Kevin Leonard is immediately suspended from the practice of law, pursuant to Rule 6.2A of the RGDP.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 6th day of October 2014. 
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR. 




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